         Case 8:03-cr-00332-SDM-TBM Document 236 Filed 04/18/05 Page 1 of 6 PageID 771
A 0 24513 (Rev 12/03) Sheer 1 - Judgment in a Crinli11:11C : w


                              UNITED STA TES DISTRICT COURT
                                                     hIlDDLE DISTRICT OF FLORlDA
                                                           TAMPA DIVISION



UNITED STATES OF AhIERICA                                         JUDGMENT IN A CRIhLINAL CASE

                                                                  CASE NUh,lBER: 8:03-cr-332-T-?3TBM
                                                                  USA1 NUMBER: 41316-018



MAKCOS ESTUARDO
                                                                  Defendant's Auorney: Bjorn Brunvand, CJA

THE DEFENDAKT:


X pleaded guilty to count two of the indictn~enr.
-


TITLE & SECTION                                    NATURE OF OFFENSE                   OFFENSE ENDED                 COUNT

46 Appendix, U.S.C. $8 1903(a) and (g);            Possession with intent to           August 3, 2003                 TWO
18 U.S.C. Q 2; and Tide 21 U.S.C.                  distribute 5 kilograms or
8 960(b)( l )(B)(ii)                               more of cocaine

The defendant is sentenced as provided in pagcs 2 rhrough 6 of this judgment. The sentence is imposed pursuant to h c Sentencing
Refonn Act of 1984.

X count one is dismissed in accordance with the plea agreemenr.
-
IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, rcslilution, costs, and special asscssnients imposed by this judgment arc fully paid.
If ordered to pay resritution, rhc defendant shall notilj, the court and United States Attorney of any material change in economic
circun~stanccs.


                                                                                    Date of Imposition of Sentence: April 18, 2005




                                                                                                                                   I
                                                                                        STEVEN D. hIERRYDAY
                                                                                    UNITED STATES DISTRICT JUDGE

                                                                                    DATE: April     I       2005
        Case 8:03-cr-00332-SDM-TBM Document 236 Filed 04/18/05 Page 2 of 6 PageID 772
A 0 2459 (Rev 12/03) Sheet 2 - In~prisonment
Defendant:         MARCOS ESTUARDO                                                                          Judgment - Pagc 2 of 6
Case No.:          8:03-cr-332-T-23TRh.i




The defendant is hcrcby committed to the custody of the United Statcs Bureau of Prisons to be imprisoned for a total term of
SIXTY-SEVEN (67) RIOhTHS as to count two of the indictment.




-
X        The court makes the following recommendations to the Bureau of Prisons: Imprisonment at Jesup, Georgia, or
         Rliami, Florida

-
X        The defendant is remanded to the custody of the United States Marshal.
-        The defendant shall surrender to the United Stares hlarshal for this district.

         -at - a.m./p.m. on -.
         - as no~iliedby the Uniied States Marslid.
-        The defendant sl~allsurrender for service of sentence at the institution designated by the Bureau of Prisons.

         - before 2 p.m. on -.
         - as notified by the United Stares Marsl~;~l.
             as notified by the Probation or Pretrial Services Oflice.




         I have executed this judgment as follows:




         Defendant delivered on                                                   to

at                                                                         , with a ccrrificd copy of this judgment.




                                                                         Deputy X4arshal
        Case 8:03-cr-00332-SDM-TBM Document 236 Filed 04/18/05 Page 3 of 6 PageID 773
A 0 245B (Rev. 11103) Sheet 3 - Supervised Release
Defendant:        MARCOS ESTUARDO                                                                          Judgment - Page 3of 6
Case No.:         8:03-cr-332-T-23TBhl

                                                      SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on super~isedrelease for a term of FOR'I'Y-EIGIIT (18)3lONTIIS as to
count two of the indictment.

The defendant shall rcport to thc probation office in the district to t\+hichthc dcfcndm is rcleased within 72 hours of release from
the custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another fedcral. state, or local crime, and shall not possess a firearm,
ammunition, or destructive device as dctined in 18 U.S.C. $ 921.

X        The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
         controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least
         two periodic drug tests thereafter, as detern~inedby the court.

X        The defcndant shall cooperate in the collection of DXA as directed by the probation officer. (Check, if applicable.)

 If this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in accordance nrith the
 Schedule of Payments sheet of this judgment.

 The defendant shall comply wilh the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.
                                         STANDARD CONDITIONS OF SUPERVISION
          the defendant shall not leave the judicial district without the permission of the court or probation officer;
          the dcfcndant shall rcport to the probation officer and shall submit a truthful and cornplctc writtcn repol? within the first five days
          of each month:
          the dcfcndant shall answer truthfully all i~lquiriesby the probation officer and follow the instructions ofthc probation officer;

          the dcfcndant shall support his or her depcndcnts and meet other fanlily responsibilities:
          the dcfcndant shall work rcgularly at a lawful occupation, unless excused by the probation officcr for schooling. training, or othcr
          acccptablc reasons:

          the defendant shall notify the probation officer at Icast ten days prior to any change in rcsidcncc or cmployment;
          the defendant shall refrain from cxccssivc use of alcohol and shall not purchasc, posscss, use, distribute, or administer any
          controlled substancc or any paraphernalia related to any controlled substances, escept as prcscribcd by a physician:
          the defendant shall not frcqucnt placcs where controlled substances arc illegally sold, uscd, distributed, or administered;
          the dcfcndant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted
          of a felony. unlcss grantcd permission to do so by the probation officer:
          the defendant shall pcrmit a probation officcr to visit him or her at any time at home or elsewhere and shall permit confiscation of
          any contraband obsencd in plain vicw of the probation officcr;
          the defendant shall notify thc probation ofticer within seventy-two hours of being arrcstcd or qucstioncd by a law enforcement
          officer;
          the dcfcndant shall not cnter into any agrccmcnt to act as an mformer or a special agent of a law cnforccmcnt agcncy without the
          pcrmlsslon of ihc court;
          as dircctcd by the prob~t~on officcr. thc dcSc~id:~nt
                                                              shall notify third parties of risks that may be occasloncd by the dcfcndant's
          criminal record or pcrsonal history or chnractcristics and shall pcnnlt the probation officcr to makc such notifications and to
          confirm the defendant's cornpliancc with such notification requirement.
       Case 8:03-cr-00332-SDM-TBM Document 236 Filed 04/18/05 Page 4 of 6 PageID 774
A 0 235B (Rev. 12/03) Sheet 3C - Supenised Releasc

Defendant:         MARCOS ESTUARDO                                                                Judgmmt - Page 4 of 6
Case No. :         8:03-cr-333,-T-23TBhI
                                        SPECIAL CONDITIONS OF SUPEliVISION

The defendant shall also comply with rhe following additional conditions of supervised release:


-
X        If the defendant is deported, he/she s l d l not re-enter the United States wilhout the express permission of h e Unitcd
         States Department of Homeland Security or its statutory successor.
        Case 8:03-cr-00332-SDM-TBM Document 236 Filed 04/18/05 Page 5 of 6 PageID 775
 A 0 135B (Rev 12/03) Sheer 5 - Criminal hlonerary I'enalties

 Defendant:         MARCOS ESTUARDO                                                                  Judgment - Page 5 of 6
 Case No.:          8:03-cr-331-T-23TBh.I

                                            CFUhlINAL IIIOA'ETARY PENALTIES

 The defendant n~ustpay the total cri~ninaln1onct:iry penalties under the sclicdule of payments on Sheet 6.
                             Assessment                          -
                                                                 Fine                  Total Restitution

          Totals:            $100.00                             $ waived                    $ NIA



-         The determination of restitution is deferred until .              An Anlerlded J~tdgtnerlrin a Crirnirral Case ( A 0 245C)
                                                                            \\fill
          be entered after such detcrmination.
-         Thc defendant niusr nlake restitution (including conlmunity restitution) to the following payces in the amount listed
          belokv.
          If the defendant makes a partial pay~ncnt,each payee shall receive an approximately proportioned payment, unless
          specified otherwise in the priority ordcr or percentage pa ment column below. However, pursuant to 18 U.S.C.
                                                                        d
          3664(i), all non-federal victims must be paid before the nited Statcs.
                                                                                                           Priority Ordcr or
                                                     *Total                    Amount of                     Percentage of
 S a m e of Pavee                                  Amount of Loss           Restitution Orclered               Pavment




-         Restitution amount ordered pursuant to plea agreement S
          The defendant shall ay interest on any tine or restitution of more than $2,500, unless the restitution or fine is paid in full
-
                                B
          before the fifteenth ay after the date of the judgment, ursuant to 18 U.S.C. ji 3612(f). All of the payment options on
                                                                    B
          Sheet 6 nlay be subject to penalties for delinquency an default, pursuant to 18 U.S.C. $ 3612(g).
-         The court determined that the dckndant does not have the ability to pay interest and it is ordered that:
         -          h e interest requirement is waived I'or [lie - fine     - restitution.
         -          tlie interest requirement for the - Sine - restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110. 1 IOA, and 113A of Title 18 for the offenses
committed on or after September 13. 1994, but before April 23, 1996.
        Case 8:03-cr-00332-SDM-TBM Document 236 Filed 04/18/05 Page 6 of 6 PageID 776
A 0 245B (Rev 12/03) Sheet 6 - Schedule of Payments

Defendant:        MARCOS ESTUXRDO                                                                     Judgment - Page 6of 6
Case No.:          8:03-cr-332-T-23TBM


                                                  SCHEDULE OF I'AYNLENTS



Having assessed the defendant's ability to pay, payment of the total criminal rnonetary penalties are due as
follows:

                   Lump sum payment of $ 100.00 due immediately.
                            -not later than                    , or

                            -in accordance - C, - D. - E or - F below; or
                   Payment to begin inmediately (may be combined with -C, -D, or -F below): or
                  Payment in equal                   (e .g. weekly, monthly. quarterly) installments of S
                                                               :                                                     over a
                  period of            (e.g., months or years). to colnmence             days (e.g., 30 or 60 days) after
                  the date of this judgment: or
                  Payment in equal                   (e.g., weekly, monthly, quarterly) installments of S             over a
                  period of               . (e.g . , months or years) to commence                     (e.g. 30 or 60 days)
                  after release from impri'sonmenr to a term of supervision; or
                  Payment during the term of supervised release will commence within                        (e.g., 30 or
                  60 days) after release from imprisonment. The court will set Lhe payment plan based on an assessment
                         the defendant's ability to pay at that time, or
                   Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment in1 oses a period of imprisonment. paynlent of
                      P                                                         P
criminal monetary enalties is due during imprisonment. All crimina monetary penalties. except those payments made
through the Federa Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
       Defendant and Co-Defendant Names and Case Numbers (including defendanr number), Total Amount. Joint
and Several Amount. and corresponding payee. if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
-        The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following ordcr: ( I ) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) conlmunity restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
